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   ATTACHMENT 1
1/18/2021                      Case 2:22-cv-01640-LK Document     16-1Diemert
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    Diemert, Joshua <Joshua.Diemert@seattle.gov>
       713/2017 10:21 AN,
    To: May, Tina <Tina.lnay@seattle.gov>
    Good Morning,

    After yesterday's meeting, I have decided that I will no longer participate so I don't offend Fabiola Arvizu anymore with any "mansplaining'. I have found that it is acceptable to
    shut down the input and public discourse of the male employees in the city using this sexist language so find it best to conform so that I can continue working for the city. This is
    not the first time, nor do I expect it to be the last because this type of divisive and discriminatory talk is accepted in the city of Seattle and I have found the trend has only
    become worse. This is not the first time I have dealt with the increased discrimination in the city. During the department introductions this last summer when UDP joined YFE, a
    senior YFE co-worker introduced himself and condescendingly asked "What do you have to offer our city as a white, straight, male?" This last Fall under Gloria Hatcher-Mayes
    leadership, as OOC Senior PIR, I was corrected by management after I reprimanded an employee for denying an eligible client whom when asked why she was denying him, was
    shocked when met with the response "white male privilege". The lack of concern for this blatant discrimination from past management and a valid fear of retribution has led me
    to believe that I should be silent so not to disrupt the city of Seattle status quo. Next time, instead of waiting until the end of the meeting to complain that the meeting was just
    a lot of 'mansplaining', please have someone interrupt and stop us up front so we know our place.

    No, I don't need mediation. Mediation would only validate the acceptable use of sexist language towards one another in a professional workplace which it is not. There is
    nothing to mediate being the minority victim of bigoted language directed at me and my male counterparts in a woman dominated office where the majority of co-workers,
    lead, supervisor, manager and Director have always historically been women and are currently women.

    Hope your day is better than mine.

    Voiceless,

                       Joshua A. Diemert
                       Program Intake Representative, Utility Assistance Programs
                       City of Seattle Human Services Department
                       O: 206.684.4023 I F: 206.621.5012
                       Facebook I Twitter




    "Where justice is denied, where poverty is enforced, where ignorance prevails, and where any one class is made to feel that society is an organized conspiracy to oppress, rob
    and degrade them, neither persons nor property will be safe."
    — Frederick Douglass




       dis-crim-i-nation                                                                                               sexist
       [da.skrirne'riASH(e)n]                                                                                         ['seksist]

       NOUN                                                                                                           ADJECTIVE

            1.   the unjust or prejudicial treatment of different categories of people or things, especially on the      1.   relating to or characterized by prejudice. stereotyping, or disc
                 grounds of race, age, or sex:                                                                                on the basis of sex:
                 "victims of racial discrimination" - [more]                                                                  'his attitude to women is patronizing and sexist" - [more]



       bigoted
       [ bigedecl] 4))

       ADJECTIVE
             having or revealing an obstinate belief in the superiority of one's own opinions and a prejudiced
             intolerance of the opinions of others:
             "a bigoted group of reactionaries" [more]




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